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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

CANDE BRANDOW                                 §
                                              §
v.                                            §       CIVIL ACTION NO. 4:18-cv-516
                                              §
FLAGSTAR BANK, FSB                            §



                        MOTION FOR WITHDRAWAL OF COUNSEL

TO THE HONORABLE JUDGE OF THIS COURT:

       COMES NOW Erick DeLaRue filing this his Motion for Withdrawal of Counsel, and for
good cause would show the Court as follows:
       1.      Erick DeLaRue, Robert C. Vilt, and Vilt and Associates, P.C. are counsel of record
for Plaintiff in the above-entitled and numbered cause.
       2.      Erick DeLaRue will no longer be employed with Vilt and Associates, P.C. as of
June 15, 2018. As such, Erick DeLaRue hereby moves the Court to enter an order permitting him
to withdraw as counsel of record; however, Robert. C. Vilt and Vilt and Associates, P.C. will
continue to represent Plaintiff.
       3.      Plaintiff will not be prejudiced by Erick DeLaRue’s withdrawal because the
undersigned counsel will remain as counsel for Plaintiff. Further, this motion is not intended for
the purpose of delay.



       WHEREFORE, PREMISES CONSIDERED, Erick DeLaRue prays that the Court enter an
order permitting the withdrawal of Erick DeLaRue as counsel of record for Plaintiff, that the
Court order that the docket be amended to reflect that Erick DeLaRue has withdrawn as counsel
of record for Plaintiff, and that he no longer needs to be noticed of any pleadings, motions, or
other documents filed or served in this case. Erick DeLaRue respectfully requests that Robert C.
Vilt and Vilt and Associates, P.C. continue to be provided copies of all correspondence,
pleadings, or other documents in this case for Plaintiff.
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                                             Respectfully submitted,

                                                     VILT AND ASSOCIATES, P.C.

                                             By:   __/s/ Erick DeLaRue________
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                                             ATTORNEYS FOR PLAINTIFF

                              CERTIFICATE OF CONFERENCE
      I hereby certify that I conferred with counsel for Defendant on June 12, 2018 and he is not
opposed to the relief sought in this Motion.

                                             /s/ Erick DeLaRue
                                             ERICK DELARUE


                                 CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the foregoing was forwarded to all counsel
of record pursuant to the Federal Rules of Civil Procedure on June 12, 2018.

       Matt D. Manning
       McGlinchey Stafford, PLLC
       1001 McKinney St., Suite 1500
       Houston, TX 77002

                                             /s/ Erick DeLaRue
                                             ERICK DELARUE
